Filed 06/15/18                                       Case 16-24643                                                 Doc 37

                                                                                              FLED \Y
   2   tiavin Mehi
        890 Wedge Wood Ct.                                                                   JUN 15 2018
   3   West Sacramento, CA 95605
       Ph: (917) 304-6089                                                                    rrATIsN(RLqcy COT
                                                                                               fSTR
                                                                                                  CT 0 LFORNA
   4
       Debtor pro Se.
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   7
                                   UNITED STATES BANKRUPTCY COURT
   8                                EASTERN DISTRICT OF CALIFORNIA
                                         SACRAMENTO DIVISION
   9

 10    In re:                                                   Case No. 16-24643-D-7
 11         MEHL, GAVIN                                         Chapter 7
 12         Debtor.                                             DCN:                 GGM-3

 13                                                             Hearing Date:        N/A
                                                                Hearing Time:        N/A
 14                                                             Dept:                D
                                                                Courtroom:           34
 15                                                             Judge:               Bardwill
                                                                Location:            501 I St., 6th Floor
 16                                                                                  Sacramento, CA 95814

 17

 18
                              DEBTOR'S EX PARTE APPLICATION TO REOPEN CASE
 19
                COMES NOW Debtor and applies Ex Parte to this Court to reopen his case for the purpose of filing
 20
       Motions to Avoid Lien.
 21
                Debtor filed for Chapter 7 Bankruptcy Protection on July 15, 2016 and received his Discharge on
 22
       October 28, 2016.
 23
                In Debtor's Petition, he disclosed an interest in real property commonly known as 890 Wedge Wood
 24
       Ct., West Sacramento, CA 95605 ("the property"). See Schedule A. Also in his Petition, Debtor
 25
       identified at least two Creditor Judgment Liens held by First National Mortgage Sources, LLC and FIA
 26

 27
Filed 06/15/18                                          Case 16-24643                                                       Doc 37
   1   Card Services 1 . See Schedule D.

   2          Debtor wishes to seek to avoid those liens. In addition, Debtor may need to file an Amendment to

   3   the Schedules (although he has yet to determine this for certain).

   4   Respectfully submitted,

   5   Dated: June 14, 2018

   6                                                                    Debtor

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  27          'Debtor did file to avoid one of those liens, which request was denied. Debtor believes that he can resolve the
            in that Motion and present it to the Court. In any event, there remains one judgment lien which had never been
            ted to this Court for avoidance.
